                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


VOTE FORWARD,
     611 Pennsylvania Ave. SE #192
     Washington, DC 20003;

AARON CARREL,
    2 N Roby Rd.                            Civil Case No. 1:20-cv-02404
    Madison, WI 53726;
                                            COMPLAINT FOR INJUNCTIVE
VOCES UNIDAS DE LAS MONTAÑAS,               AND DECLARATORY RELIEF
     1001 Grand Ave., Suite 107
     Glenwood Springs, CO 81601;

COLORADO ORGANIZATION FOR
LATINA OPPORTUNITY AND
REPRODUCTIVE RIGHTS,
     P.O. Box 40991
     Denver, CO 80204;

and

PADRES & JÓVENES UNIDOS,
    4130 Tejon St., Suite C
    Denver, CO 80211,

                          Plaintiffs,

      v.

LOUIS DEJOY, in his official
capacity as the Postmaster General,
       475 L’Enfant Plaza SW,
       Washington, D.C. 20260-0546;

and

UNITED STATES POSTAL SERVICE,
     475 L’Enfant Plaza SW
     Washington, DC 20260-0546,


                         Defendants.



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        Plaintiffs Vote Forward, Aaron Carrel, Voces Unidas de las Montañas, Colorado

Organization for Latina Opportunity and Reproductive Rights (“COLOR”), and Padres &

Jóvenes Unidos, by and through their undersigned attorneys, bring this Complaint

against the above-named Defendants; their respective agents, officers, employees, and

successors; and all persons acting in concert with each or any of them. In support of this

Complaint, Plaintiffs allege the following:

                                   INTRODUCTION

        1.    Even in ordinary years, the reliable delivery of mail ballots by the United

States Postal Service (“USPS”) is critical to our democracy. And this is no ordinary

year.

        2.    USPS’s reliability has never been taken for granted: it is safeguarded by

this nation’s laws. Statutory obligations and procedures protect USPS from political

influence and prevent capricious shifts in policy, whether by artfully crafted press

release, tweet, or shifting congressional testimony.

        3.    These safeguards are all the more important at this moment, when a

presidential election hangs in the balance. A public health crisis has prompted states to

make the unprecedented decision to enable 83% of all Americans who are eligible to

vote—approximately 190 million people—to vote by mail. USPS’s capabilities are central

to this most consequential election: USPS is tasked with no less than delivering

democracy.

        4.    Since his appointment as Postmaster General in May 2020, Defendant

Louis DeJoy has implemented policies that have undermined USPS’s ability to ensure

the on-time delivery of mail ballots. In particular, on July 10, 2020, Postmaster DeJoy

announced a ban on late and extra delivery trips (the “Late Trips Policies”). Under this

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policy, a substantial volume of mail will be “left on the floor” at postal facilities, risking a

cascading delay in the delivery of Election Mail. In his testimony before the House of

Representatives on August 24, 2020, DeJoy was boldly unrepentant in standing by the

Late Trip Policies.

        5.    Similarly, although the number of decommissioned mail sorting machines

skyrocketed under his tenure, DeJoy has unapologetically refused to restore the

hundreds of processing machines decommissioned since his first day as Postmaster

General in June 2020. The total number of sorting machines removed under DeJoy’s

tenure alone could have processed over 1.6 million ballots an hour in the months leading

up to the November 2020 election, but DeJoy has testified that he will not reinstate

them.

        6.    The Late Trips Policies and the failure to restore decommissioned sorting

machines (collectively, the “Challenged Policies”) have also taken place in tandem with

Postmaster General DeJoy’s unequivocal failure to reverse certain additional policies

that negatively impact mail delivery. He has left the authorization of overtime during

the election to the discretion of local managers. He has offered vague assurances that

further resources will be made available to facilitate the delivery of Election Mail.

        7.    Throughout this process, Defendants have failed to honor the statutory

requirement of 39 U.S.C. § 3661 that changes in postal policy be approved by the Postal

Regulatory Commission (PRC). These procedures exist for a reason: to prevent the

poorly articulated, ill explained, and shifting policy pronouncements that have marked

DeJoy’s brief tenure as Postmaster General.

        8.    One voice, however, has been quite clear on the subject of mail balloting.

President Trump has repeatedly and emphatically stated his opposition to mail

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balloting, baselessly asserting that it is part of a nefarious plan by his opponents to steal

the election.

       9.       In this historic moment, Defendants should be redoubling their efforts to

facilitate the right to vote and provide a clear articulation of their policies and the basis

for them. Instead, DeJoy has ignored USPS’s statutory obligations, obfuscated the

implementation and cessation of numerous policies, and unreasonably burdened the

right to vote. His policies cannot stand.

                              JURISDICTION AND VENUE

       10.      The Court has subject matter jurisdiction over Plaintiffs’ claims under

Article III of the Constitution and 28 U.S.C. § 1331. An actual and justiciable

controversy exists between the parties within the meaning of 28 U.S.C. § 2201(a), and

this Court may grant declaratory relief, injunctive relief, and other relief pursuant to 28

U.S.C. §§ 2201, 2202 and the Court’s equitable powers. Plaintiffs have no adequate

remedy at law.

       11.      Venue is proper in this district because Defendants reside in this judicial

district and a substantial part of the acts or omissions giving rise to the claim occurred

in this judicial district. 28 U.S.C. § 1391(c)(2), (e)(1).

                                          PARTIES

       12.      Plaintiff Vote Forward is a 501(c)(4) nonprofit organization founded in

2019 that works to empower grassroots volunteers to help register voters from

traditionally underrepresented communities and encourage them to vote. Vote Forward

builds tools to enable Americans across all 50 states to encourage their fellow citizens to

participate in our democracy. To date, more than 165,000 volunteers have used the

Vote Forward platform and hand-written more than 8 million “Please vote!” and “Please

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register to vote!” letters to fellow citizens. Vote Forward’s overall 2020 get-out-the-vote

(“GOTV”) goal is to send 10 million letters in late October. As a result of recent

disruptions and delays in mail delivery by USPS, the organization has had to redirect

significant organizational resources to the work of responding to a deluge of questions

and concerns from our volunteers about the impact of those delays on their efforts. The

organization has also launched two entirely new programs to understand the scope of

current mail delays, and to investigate their likely impact on the efficacy of the GOTV

program.

       13.    Plaintiff Aaron Carrel lives in Madison, Wisconsin. He is a registered

voter who voted by mail in the Wisconsin primary election. He lives with a relative who

is immunocompromised, and he intends to vote by mail in the general election because

voting in person would put his family member at risk of contracting COVID-19.

       14.    Plaintiff Voces Unidas de las Montañas (“Voces Unidas”) is a non-profit

organization that seeks to elevate the voices of Latinos in three rural Colorado counties

through civic engagement. Latinos represent 30% of the population in Garfield and

Eagle counties and 10% of the population in Pitkin county. The rural communities

Voces Unidas serves rely heavily on USPS for both every day communication and for the

exercise of their civic rights, including the right to vote. The delays caused by USPS’s

policies threaten to frustrate Voces Unidas’s mission to elevate the voices of Latinos.

The delays caused by USPS’s policies have also undermined Latinx and rural

communities’ trust in USPS, causing Voces Unidas to have to expend its limited

resources on campaigns to regain the communities’ trust in the post office and in the

electoral system. Voces Unidas expects to devote resources for additional education and

outreach to this effect.

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       15.    Plaintiff Colorado Organization for Latina Opportunity and Reproductive

Rights (“COLOR”) is a grassroots nonprofit organization founded in 1998 that works to

enable Latino individuals and their families to lead safe, healthy and self-determined

lives. COLOR is headquartered in Denver, Colorado and works across seven different

cities including Denver Metro, Leadville, Telluride, Lamar, Silverthorne, Trinidad and

Glenwood Springs. The organization has over 11,000 members. Colorado Latinos

remain the hardest hit by COVID-19, being over-represented in the essential worker

population and in death rates. COLOR canvassers have worked non-stop, phone

banking from their homes to ensure the community gets out the vote. Even in a state

where elections are conducted entirely by mail, creating voting plans has been

challenging when the community faces widespread job loss, illness, and housing issues.

Recent changes in USPS policies have created an additional challenge. As a result of

recent disruptions and delays in mail delivery by USPS, COLOR has needed to redirect

significant organizational resources to ensure its members and communities are voting

early so their ballots are received in a timely manner. This requires additional resources

for phone banking, mailers, and digital outreach. COLOR is “all hands on deck” to

ensure the community is informed of delays and is being proactive about returning

ballots early to ensure votes are counted.

       16.    Plaintiff Padres & Jóvenes Unidos is a nonprofit organization building a

movement of working-class Latinx and immigrant youth and families leading

community-based solutions to expose and dismantle the root causes of systemic

discrimination, racism, economic inequity, and institutional injustice. Founded in 1992

and headquartered in Denver, Colorado, Padres & Jóvenes Unidos has over 1,000

members across the Denver Metro Area. To advance its core mission, the organization

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has engaged the community in using their voice by participating in local and national

elections. Padres & Jóvenes Unidos’s civic engagement work is aimed at increasing

voter turnout, educating about electoral issues, voter suppression, and

disenfranchisement with an overall goal of building power for our most vulnerable

communities. The effects of the USPS policies have frustrated the mission of Padres &

Jóvenes Unidos and required the organization to redirect significant organizational

resources to inform members about how to effectuate their right to vote amidst the

disruptions and delays in mail delivery.

        17.   Defendant USPS is an independent establishment of the executive branch

of the U.S. Government. See 39 U.S.C. § 101. USPS is charged with the obligation of

providing postal services to the citizens of the United States, and it maintains postal

service facilities throughout the United States, including in the District of Columbia.

USPS headquarters are located at 475 L’Enfant Plaza, S.W., Washington, D.C. 20260-

0546.

        18.   Defendant Louis DeJoy is the Postmaster General of the USPS. DeJoy is

sued in his official capacity.

                                    BACKGROUND

I.      The Increased Importance of Voting by Mail Has Been Met With
        Animosity from the Federal Government Under the Trump
        Administration.

        A.    Voting by Mail Is Critical to the November 2020 Election.

        19.   On March 11, 2020, the World Health Organization (“WHO”) declared a

global pandemic resulting from the spread of COVID-19. Two days later, President

Trump announced that the outbreak of COVID-19 in the United States constituted a

national emergency. By April 2020, the United States recorded the highest number of

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confirmed COVID-19 cases in the world, and as of August 2020, it has reported over five

million COVID-19 cases, including 177,332 deaths. 1

      20.    While people of all ages have contracted and died from COVID-19, the

virus poses additional and acute threats for individuals with preexisting medical

conditions—such as kidney disease, heart disease, asthma, hypertension, and diabetes—

who face increased risks of serious complications from COVID-19, regardless of age. 2

The Centers for Disease Control and Prevention (“CDC”) has also recognized that

“[l]ong-standing systemic health and social inequities have put many people from racial

and ethnic minority groups at increased risk of getting sick and dying from COVID-19.” 3

The number of known COVID-19 cases in the United States is 2.6 times higher among

Black persons than white persons, and 2.8 times higher among Hispanic or Latinx

persons than white persons. 4




1WHO, WHO Coronavirus Disease (COVID-19) Dashboard (last visited Aug. 27, 2020),
https://covid19.who.int/.
2 CDC, Coronavirus Disease 2019 (COVID-19): People With Certain Medical Conditions
(last updated Aug. 14, 2020), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/groups-at-higher-risk.html.
3CDC, Health Equity Considerations and Racial and Ethnic Minority Groups (last
updated July 24, 2020), https://www.cdc.gov/coronavirus/2019-ncov/community/
health-equity/race-ethnicity.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%
2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fracial-ethnic-
minorities.html.
4CDC, COVID-19 Hospitalization and Death by Race/Ethnicity (last updated Aug. 18,
2020), https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-
discovery/hospitalization-death-by-race-ethnicity.html.


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       21.     There is currently no approved medication or vaccine for COVID-19, and

medical experts and government agencies generally agree that a vaccine will not be

available to the public in 2020. 5

       22.     In the interim, experts have identified techniques that are effective in

decreasing transmission of COVID-19, including practicing social distancing by avoiding

close, in-person contacts, avoiding large gatherings, wearing masks in public, and

practicing frequent and thorough handwashing.

       23.     As a result of the pandemic and its restrictions on in-person voting, the

demand for mail-in voting—which has existed in the United States for decades—has

skyrocketed. During the COVID-19 pandemic, in-person voting presents an increased

risk of infection to all voters, and an intolerable risk of infection for voters who are

particularly vulnerable to the illness. For elderly voters, voters with pre-existing

medical conditions, and voters from racial and ethnic minority groups, the ability to cast

a ballot by mail is essential. And even in ordinary years, casting a mail-in ballot may be

the only realistic means of voting for voters with disabilities or those who are unable to

get to the polls.

       24.     The CDC, for example, has warned of the significant possibility of person-

to-person COVID-19 transmission at polling sites and has encouraged the use of “voting




5HHS, Fact Sheet Explaining Operation Warp Speed, (June 16, 2020),
https://www.hhs.gov/about/news/2020/06/16/fact-sheet-explaining-operation-warp-
speed.html; Gisela Crespo, US gets Reality Checks on COVID-19 Vaccine, Duration of
Symptoms, CNN (July 24, 2020), https://www.cnn.com/2020/07/24/health/us-
coronavirus-friday/index.html.


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methods that minimize direct contact and reduce crowd size at polling locations,” such

as mail-in voting. 6

          25.   Consistent with the CDC’s guidance, states have expanded mail-in voting

access to ensure that eligible voters can vote both safely and securely during the 2020

primary and general election cycle.

          26.   As of August 15, 2020, 43 states and the District of Columbia will permit

all eligible voters to vote by mail during the COVID-19 pandemic. 7 And 26 states and

the District of Columbia have modified their election procedures to make voting by mail

more accessible during the pandemic. 8 For example, Alabama, Massachusetts, New

Hampshire, Kentucky, and West Virginia have expanded the scope of existing state

election laws establishing absentee ballot eligibility for illness, injury, or disability to

include all eligible voters concerned about, or taking preventative measures because of,

COVID-19.

          27.   Because of the pandemic, California, Nevada, New Jersey, and the District

of Columbia will proactively mail ballots to all registered voters in advance of the

general election. And five states—Colorado, Hawaii, Oregon, Washington, and Utah—




6 See CDC, Coronavirus Disease 2019 (COVID-19): Recommendations for Election
Polling Locations (last updated June 22, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-
locations.html.
7Id. (42 currently listed on website, with change to Kentucky voting system not yet
reflected).
8   Id.


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will conduct their elections entirely by mail. 9 In these eight states and the District of

Columbia, approximately 52 million voters will automatically receive ballots in the mail

this fall.

        28.   Consequently, at least 83% of eligible voters—approximately 190 million

people—will have the opportunity to vote by mail-in absentee ballot in the November

2020 election. 10

        29.   During the primaries, many of these states saw a record numbers of mail-

in ballots and ballot requests. In Wisconsin, where Plaintiff Aaron Carrel resides and

votes, nearly one million voters submitted ballots by mail in the April 2020 primary

election. Other states saw dramatic spikes in the proportion of ballots submitted by

mail in their primary elections as compared to 2016. In New York, more than 1.7

million people requested ballots by mail in the June 2020 primary election—a tenfold

increase in absentee ballot requests relative to 2016. And in Pennsylvania,

approximately 1.9 million voters requested mail-in ballots—18 times more absentee

ballots in the 2020 primary than for the 2016 primary election.

        30.   Many states have recently expanded their use of mail-in ballots. For the

first time, California and the District of Columbia will automatically send a mail-in

ballot to all registered active voters for the November 2020 general election. In




9 Nat’l Conf. of State Legislatures, VOPP: Table 18: States With All-Mail Elections (Apr.
21, 2020), https://www.ncsl.org/research/elections-and-campaigns/vopp-table-18-
states-with-all-mail-elections.aspx.
10Kate Rabinowitz & Brittany Renee Mayes, At least 83% of American Voters Can Cast
Ballots By Mail in the Fall, Wash. Post (Aug. 20, 2020),
https://www.washingtonpost.com/graphics/2020/politics/vote-by-mail-states/.


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Pennsylvania and Delaware, all voters were given the option of voting by mail for the

first time in the 2020 primary election.

           31.   Based on recent election trends, experts conservatively predict “roughly 80

million mail ballots” will be submitted this fall, “more than double the number [of mail

ballots] that were returned in 2016.” 11 Indeed, “[s]ome states anticipate 10 times the

normal volume of election mail.” 12

           B.    The Trump Administration Has Repeatedly and Baselessly
                 Attacked Mail-In Voting.

           32.   In the lead-up to the 2020 election, President Trump has repeatedly

asserted, without evidence, that voting by mail will lead to millions of fraudulent ballots

being cast and will delegitimize the election outcome. 13 His assault on voting by mail

has been relentless, with over 70 distinct attacks on mail voting. 14 And the President

has openly stated that the motivation for refusing to fund USPS as part of the COVID-19

stimulus packages is to frustrate voters’ ability to cast their ballots by mail.




11Juliette Love, Matt Stevens, & Lazaro Gamio, Where Americans Can Vote by Mail in
the 2020 Election, N.Y. Times (last updated Aug. 14, 2020),
https://www.nytimes.com/interactive/2020/08/11/us/politics/vote-by-mail-us-
states.html.
12Erin Cox, et al., Postal Service Warns 46 States Their Voters Could Be
Disenfranchised by Delayed Mail-In Ballots, Wash. Post (Aug. 14, 2020),
https://www.washingtonpost.com/local/md-politics/usps-states-delayed-mail-in-
ballots/2020/08/14/64bf3c3c-dcc7-11ea-8051-d5f887d73381_story.html (emphasis
added).
13See generally Amy Gardner, Josh Dawsey, & Paul Kane, Trump Opposes Election Aid
for States and Postal Service Bailout, Threatening Nov. 3 Vote, Wash. Post (Aug. 13,
2020), https://www.washingtonpost.com/politics/trump-mail-
voting/2020/08/13/3eb9ac62-dd70-11ea-809e-b8be57ba616e_story.html.
14   Id.


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       33.    During a March 30, 2020 interview on Fox & Friends regarding the

Democrats’ COVID-19 stimulus bill, which would provide funding for election

administration and USPS to facilitate voters’ ability to cast their ballots safely from

home during the pandemic, President Trump stated that a Congressional stimulus bill’s

funding for voting by mail would promote “levels of voting that, if you ever agreed to it,

you’d never have a Republican elected in this country again.” 15

       34.    On August 13, 2020, in a subsequent Fox Business Network interview

about the stimulus bill, President Trump further clarified his views, stating: “They want

three and a half billion dollars for the mail-in votes. Universal mail-in ballots. They

want $25 billion, billion, for the Post Office. Now they need that money in order to

make the Post Office work so it can take all of these millions and millions of ballots. . . .

But if they don’t get those two items that means you can’t have universal mail-in voting

because you [sic] they’re not equipped to have it.” 16

       35.    In the midst of President Trump’s war on voting by mail, DeJoy—“a

Republican Party and Trump campaign megadonor”—was appointed Postmaster

General, just months before the November presidential election. 17




15Aaron Blake, Trump Blurts out His True Motive on Mail-in Voting, Wash. Post (Aug.
13, 2020), https://www.washingtonpost.com/politics/2020/08/13/trump-blurts-out-
his-true-motive-blocking-post-office-funding-mail-in-voting/.
16Ellie Kaufman et al., Trump says he opposes funding USPS because of mail-in voting,
CNN (Aug. 13, 2020), https://www.cnn.com/2020/08/13/politics/trump-usps-
funding-comments-2020-election/index.html.
17Lucy Tompkins, Who Is Postmaster General Louis Dejoy? N.Y. Times (Aug. 24,
2020), https://www.nytimes.com/article/general-louis-dejoy-postmaster.html.
                                              13
II.   Statutory Obligations Safeguard USPS’s Responsibility to Promote
      Efficient Delivery of Mail from Political Influence.

      A.     USPS Mandate and Operations

      36.    USPS operates as “an independent establishment of the executive branch

of the Government of the United States” that is overseen by a Board of Governors,

including the Postmaster General. 39 U.S.C. §§ 201, 202(a)–(d). USPS and its Board of

Governors are responsible for “maintain[ing] an efficient system of collection, sorting,

and delivery of the mail nationwide.” 39 U.S.C. § 403(b)(1).

      37.    By statutory mandate, USPS must be “operated as a basic and

fundamental service provided to the people by the Government of the United States,

authorized by the Constitution, created by Act of Congress, and supported by the

people,” and must “provide prompt, reliable, and efficient services to patrons[.]” 39

U.S.C. § 101(a). And the costs of “maintaining the Postal Service shall not be

apportioned to impair the overall value of such service to the people.” Id.

      38.    On average, USPS processes and delivers 472.1 million pieces of mail every

day. 18 Most incoming mail is processed by postal workers at mail processing facilities

(“processing plants”). Processing mail involves sorting the mail for transportation and

delivery and, for certain types of mail, applying a postmark. Processed mail is

dispatched in trucks from the processing plants to (a) non-local destinations, where it




18One Day in the Life of the U.S. Postal Service, USPS Postal Facts (last visited Aug. 27,
2020), https://facts.usps.com/one-
day/#:~:text=The%20Postal%20Service%20adds%204%2C221%20addresses%20to%2
0our%20delivery%20network%20every%20day.&text=Each%20day%20the%20Postal
%20Service%20processes%20and%20delivers,pieces%20of%20First%2DClass%20Mail
.&text=On%20average%2C%20the%20Postal%20Service,minute%20and%205%2C464
%20each%20second.
                                            14
will undergo further processing, or (b) to delivery units, such as a post office or carrier

station, for delivery to local destinations.

        39.   When processed mail arrives at the delivery unit from the processing

plant, clerks and carriers complete any final sequencing as needed, and carriers then

deliver the processed mail and collect new mail on foot or by vehicle in a prescribed

area.

        40.   Mail can be collected in either of two ways: a carrier collects the mail on

her route, or a clerk collects the mail at the post office. The mail collected by carriers

and clerks is dispatched by truck from the delivery unit to the processing plant, where

the cycle begins again.

        41.   To ensure that every piece of mail goes out of the plant or delivery unit

every day, late trips (trips taken later than initially scheduled) or extra trips (trips taken

in addition to regularly-scheduled trips) are frequently necessary. This is true for

deliveries from the delivery unit to the processing plant, from the processing plant to the

delivery unit, and, in certain circumstances, from the delivery unit to the recipient of the

mail.

        B.    Procedural Requirements for Enacting Changes to USPS
              Services

        42.   Congress charged USPS with the responsibility to “plan, develop, promote,

and provide adequate and efficient postal services at fair and reasonable rates and fees.”

39 U.S.C. § 403(a); see also 39 U.S.C. § 3661(a) (“The Postal Service shall develop and

promote adequate and efficient postal services.”).




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       43.       When “determining all policies for postal services, the Postal Service shall

give the highest consideration to the requirement for the most expeditious collection,

transportation, and delivery of important letter mail.” 39 U.S.C. § 101(e).

       44.       Before enacting any policies that have a nationwide impact on postal

services, USPS has a statutory obligation to submit a proposal to the Postal Regulatory

Commission. 39 U.S.C. § 3661. The Postal Regulatory Commission was created by the

Postal Reorganization Act, Pub. L. No. 91-375, 84 Stat. 719, which was designed “to

increase the efficiency of the Postal Service and reduce political influences on its

operations.” U.S. Postal Serv. v. Flamingo Indus. (USA) Ltd., 540 U.S. 736, 740 (2004).

Like USPS, the Commission serves as an “independent establishment of the executive

branch.” 39 U.S.C. § 501. The Commission is “composed of 5 Commissioners,

appointed by the President, by and with the advice and consent of the Senate.” Id.

§ 502(a). “The Commissioners shall be chosen solely on the basis of their technical

qualification, professional standing, and demonstrated expertise in economics,

accounting, law, or public administration, and may be removed by the President only for

cause.” Id.

       45.       Pursuant to the Postal Reorganization Act, “[w]hen the Postal Service

determines that there should be a change in the nature of postal services [that] will

generally affect service on a nationwide or substantially nationwide basis,” it must

“submit a proposal, within a reasonable time prior to the effective date of such proposal,

to the Postal Regulatory Commission requesting an advisory opinion on the change.”

Id. § 3661(b).

       46.       Under the Commission’s Rules of Practice and Procedure, USPS is

required to submit a proposed change in the nature of postal services to the Postal

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Regulatory Commission “not less than 90 days before the proposed effective date of the

change in the nature of postal services involved.” 39 C.F.R. § 3020.112.

       47.     After USPS submits a request to the Postal Regulatory Commission, the

Commission must provide “an opportunity for hearing on the record under sections 556

and 557 of [the Administrative Procedure Act] . . . to the Postal Service, users of the

mail, and an officer of the Commission who shall be required to represent the interests

of the general public.” The public is entitled to submit comments in proceedings before

the Commission. 39 C.F.R. § 3661(c).

       48.     After the hearing, the Commission must provide an advisory opinion that

“shall be in writing and shall include a certification by each Commissioner agreeing with

the opinion that in his judgment the opinion conforms to the policies established under

this title.” Id. § 3661(c).

       49.     Consistent with Section 3661’s requirements, USPS has previously

submitted proposed changes affecting the nature of postal services to the Commission

within a reasonable time before the effective date of the proposal and has requested an

advisory opinion from the Commission. 19

       C.      USPS Has Traditionally Issued and Followed Policies Consistent
               with Its Critical Role in Facilitating the Right to Vote.

       50.     Since its earliest days, our Nation’s postal system has enabled Americans

to participate in electoral democracy.




19 See, e.g., Postal Reg. Comm’n, Advisory Op. on Mail Processing Network
Rationalization Service Changes, N2012-1 (Sept. 28, 2012),
https://www.apwu.org/sites/apwu/files/resource-
files/PRC%20advisory%20opinion%20on%20network%20rationaliztion%20plan.pdf.
                                             17
       51.    During the Civil War, nearly 150,000 Union soldiers relied on the postal

system to deliver ballots in the 1864 presidential election. In the midst of World War II,

U.S. soldiers depended on the postal system to cast their votes in the 1944 presidential

election. And in elections in between and since, soldiers stationed around the world

have relied on postal voting to participate in elections at home.

       52.    So too have civilians. As explained above, five states hold all-mail

elections, 20 an additional 34 states and Washington, D.C. allow residents to vote by mail

regardless of their reasons for doing so, 21 and every other state permits voting by mail

under some circumstances, such as for those with physical illness or disabilities that

prevent a trip to the polling place or those who expect to work a shift of 10 hours or

more on election day. 22 Postal voting is and has been integral to American elections for

decades.

       53.    “In determining all policies for postal services,” USPS has a statutory

obligation to provide “the highest consideration to the requirement for the most

expeditious collection, transportation, and delivery of important letter mail.” 39 U.S.C.




20See Colo. Rev. Stat. § 1-5-401; Haw. Stat. § 11-101; Or. Rev. Stat. § 254.465; Wash.
Rev. Code § 29A.40.010; Utah Code Ann § 20A-3-302.
21See Alaska Stat. § 15.20.010; Ariz. Rev. Stat. § 16-541; Cal. Elec Code § 3003; D.C.
Mun. Regs. Tit. 3, § 720; Fla. Stat. 101.62; Ga. Code § 21-2-380; Idaho Code § 34-1001;
10 ILS 5/19-1; Iowa Code § 53.1; Kan. Stat. Ann. § 25-1119(a); 21-A ME Rev. Stat. § 751;
Md. Elec. Law § 9-304; M.C.L.A. § 168.759; Minn. Stat. § 203B.02; Mont. Code § 13-13-
201; Neb. Rev. Stat. Ann. § 32-938; NRS § 293.313; N.J. Rev. Stat. § 19:63-3; N.M. Stat.
§ 1-6-3; N.C. Gen. Stat. § 163-226; N.D. Cent. Code § 16.1-07-01; Ohio Rev. Code §
3509.02; 26 Okla. Stat. § 26-14-105; 25 P.S. § 3150.11; R.I. Gen Laws § 17-20-2; S.D.
Cod. Laws § 12-19-1; 17 VSA § 2531; Va. Code Ann. § 24.2-700; Wis. Stat. § 6.86(1)(ac);
Wyo. Stat. § 22-9-102.
22See, e.g., Ala. Sec’y of State, Absentee Voting Information,
https://www.sos.alabama.gov/alabama-votes/voter/absentee-voting.


                                            18
§ 101(e). Consistent with that legal duty and its integral role in facilitating the vote-by-

mail process, USPS has traditionally promulgated and upheld policies that treat Election

Mail—including both the ballots sent from the state to the voter, and the completed

ballots returned by the voter to the state—as important letter mail.

           54.   For example, USPS has formally adopted several classes of mail, including

First-Class Mail and Marketing Mail, which are transported with different delivery

standards and with different postage rates. First-Class Mail has a delivery standard of

2–5 days, while Nonprofit Marketing Mail has a slower delivery standard of 3–10

days. 23 In line with its statutory obligation, in prior years USPS has “treat[ed] Election

and Political Mail as First-Class Mail,” regardless of whether the election authority paid

for First-Class service or the less expensive Nonprofit Marketing service. 24

           55.   USPS also traditionally takes steps to “provide greater visibility to Election

Mail as it is processed.” 25 This includes “encourag[ing] election officials to use”

specialized tags to identify Election Mail, such as the green Tag 191 for “Domestic and

International Mail Ballots” and Tag 57 for Political Campaign Mailing, 26 and asking




23USPS, Official Election Mail: State and Local Election Mail – User’s Guide (Jan.
2020), https://about.usps.com/publications/pub632.pdf; see also USPS, Postal Pro:
Service Standards Maps (last visited Aug. 27, 2020), https://postalpro.usps.com/ppro-
tools/service-standards-maps.
24 USPS Office of the Inspector General, Audit Report, a Service Performance of
Election and Political Mail During the 2018 Midterm and Special Elections at 7 (Nov. 4,
2019), https://www.uspsoig.gov/sites/default/files/document-library-
files/2019/19XG010NO000.pdf (“OIG 2019 Report”) (USPS Office of the Inspector
General “concluded that this was how [Election Mail] was generally handled.”).
25OIG 2019 Report, Appendix B (letter from USPS Acting Vice President, Processing
and Maintenance to OIG).
26   Id.


                                               19
personnel to “identify and separate Election and Political from other mail at the facility

to improve processing in accordance with standard operating procedures.” 27

          56.    USPS has also developed an Official Election Mail logo, a unique

registered trademark that may be “used on any mailpiece created by an election official

that is mailed to or from a citizen of the United States for the purpose of participating in

the voting process.” This logo similarly “serves to identify [Official Election Mail] for

Postal Service workers and distinguish it from the thousands of other mailpieces that

are processed daily.” USPS has historically provided detailed information to state and

local election officials, including specifications about the Official Election Mail logo and

information about obtaining postage discounts. 28

          57.    In prior years, USPS has also issued guidance expressly directing

employees to afford the highest priority to absentee ballots in the months preceding a

presidential election. For example, on August 14, 2008, USPS issued a Postal Bulletin

stating: “Employees need to be aware that absentee balloting materials are handled

differently than other unpaid or short-paid mailpieces. ABSENTEE BALLOTING

MATERIALS ARE NOT TO BE RETURNED FOR ADDITIONAL POSTAGE OR

DETAINED! The postage is collected from the election office. Any delay of absentee

ballots is a violation of Postal Service policy.” The bulletin explained that it is “critical




27   Id. at 6.
28USPS, Postal Bulletin 22239, Field Information Kit: Election Mail—2008,
Publications 631 and 632 (2008), https://about.usps.com/postal-
bulletin/2008/html/pb22239/html/ElectMailkit_006.html.


                                              20
that this mail is handled correctly to avoid any negative impact on election results or the

Postal Service.” 29

           58.   The USPS Office of the Inspector General (“OIG”) conducted an audit of

the 2018 Midterm and Special Elections and concluded that “timely delivery of Election

and Political Mail is necessary to ensure the integrity of the U.S. election process.” 30 To

ensure timely delivery of Election Mail, the USPS OIG recommended that USPS

management take several key steps, including “[e]nsur[ing] sufficient mail processing

staff are assigned to appropriately process peak Election and Political Mail volume.” 31

III.       Defendants Disregarded Procedural Safeguards and Implemented
           Policy Changes That Impaired USPS’s Ability to Timely Deliver
           Election Mail.

           59.   Upon being appointed Postmaster General, DeJoy immediately took

action that diminished USPS’s effectiveness in processing mail ballots—despite an

imminent election that would involve unprecedented rates of mail voting.

           60.   DeJoy implemented these new policies without any regard for the

procedural requirements to enact changes to USPS services.

           61.   After a substantial public outcry and a series of congressional inquiries

about DeJoy’s changes to USPS operations in the months preceding the November 2020

election, DeJoy purported to suspend some of the “longstanding operational initiatives”

that “predate[d] [his] arrival” at USPS until after the election. But his purported




29 USPS Postal Bulletin (PB 22239) (Aug. 14, 2008) (emphasis in original); see also
USPS Postal Bulletin (PB 22342) (July 26, 2012) (“[S]hort-paid and unpaid absentee
balloting materials must never be returned to the voter for additional postage. Postage
is collected from the election office upon delivery or at a later date.”).
30   OIG 2019 Report at 2.
31   Id.
                                               21
rescission is facially incomplete and imprecise. DeJoy makes no attempt to assert that

he will suspend any of the policies that he personally orchestrated, and expressly

testified before the Senate that some of his policies that have impaired and continue to

impair the delivery of mail ballots will remain in place.

           A.    Without Following Statutory Procedures, Postmaster General
                 DeJoy Implemented Nationwide Late Trip Policies that Impair
                 the Right to Vote.

           62.   On May 6, 2020, Louis DeJoy was appointed the new Postmaster General

and CEO of USPS. 32

           63.   Prior to his appointment, DeJoy worked as Chair and CEO of New Breed

Logistics (later merged with and renamed XPO Logistics), a warehousing and

distribution company, and longtime contractor with USPS. 33 He is the first postmaster

general in over two decades to have never worked at USPS.

           64.   On July 10, 2020, USPS released a document entitled “Mandatory Stand-

Up Talk: All Employees” that unveiled DeJoy’s “operational pivot” and prescribed

numerous and “immediate” changes to long-standing USPS practice. 34




32Press Release, Board of Governors Announces Selection of Louis DeJoy to Serve as
Nation’s 75th Postmaster General, USPS (May 6, 2020),
https://about.usps.com/newsroom/national-releases/2020/0506-bog-announces-
selection-of-louis-dejoy-to-serve-as-nations-75th-postmaster-general.htm.
33   Id.
34Ex. 1, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020),
https://www.washingtonpost.com/context/internal-usps-document-tells-employees-to-
leave-mail-at-distributioncenters/175dd1ae-e202-4777-877c-33442338d1cc/.


                                            22
           65.   The document describes these changes as “immediate, lasting, and

impactful,” and it explained that “every single employee will receive this information, no

matter what job they perform.” 35

           66.   Specifically, the document listed the following nationwide policy changes:

(i) all “Network, Plant, and Delivery” trips must “depart on time”; (ii) late trips are “no

longer authorized or accepted”; (iii) extra trips are “no longer authorized or accepted”;

(iv) carriers “must begin on time, leave for the street on time, and return on time;” and

(v) “no additional transportation will be authorized to dispatch mail to the plant after

the intended dispatch” (collectively, the “Late Trip Policies”). 36

           67.   These Late Trip Policies run contrary to prior USPS policies, which

instructed postal workers not to leave letters behind and to make multiple trips as

needed to ensure that mail is timely delivered. 37

           68.   Notably, the document detailing these Late Trip Policies states: “[o]ne

aspect of these changes that may be difficult for employees is that—temporarily—we

may see mail left behind or on the workroom floor or docks.” 38

           69.   On July 14, 2020, a USPS PowerPoint presentation entitled “PMGs

expectations and plan” reaffirmed the Late Trip Policies. It states that “plants are not to

send mail late,” and if the “plants are not on time they will hold the mail for the next




35   Id.
36   Id.
37Jacob Bogage, Postal Service Memos Detail “Difficult” Changes, Including Slower
Mail Delivery, Wash. Post (July 14, 2020), https://www.washingtonpost.com/
business/2020/07/14/postal-service-trump-dejoy-delay-mail/.
38   Ex. 1, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020).


                                              23
day.” 39 The presentation also details the policy of curtailing late trips by mail carriers,

stating that carriers will not start “any later” than “0900” (9:00 am), and that if the

delivery units “get mail late and your carriers are gone and you cannot get the mail out

without [overtime] it will remain for the next day.” 40

           70.   In a letter to members of Congress dated August 6, 2020, USPS Chief

Operating Officer David Williams confirmed that, at DeJoy’s direction, USPS had taken

“immediate steps” geared toward “improving our transportation efficiency” by, among

other things, “working to eliminate extra and late trips” and reducing “unnecessary” and

“unauthorized” overtime.” 41 DeJoy likewise confirmed these changes in his opening

remarks before the USPS Board of Governors on August 7, 2020. 42

           71.   In an internal USPS memorandum dated August 13, 2020, DeJoy again

confirmed the changes to longstanding USPS policy. 43 Specifically, he highlighted that




39Leaked USPS PowerPoint indicates PMG DeJoy Focus on Getting Operating Costs
Under Control, Alliance of Nonprofit Mailers (July 14, 2020),
https://www.nonprofitmailers.org/leaked-usps-powerpoint-indicates-pmg-dejoy-focus-
on-getting-operating-costs-under-control/ (“July 14 USPS PMG Presentation”).
40   Id.
41See Letter from David Williams to Senator Gary Peters et al. (Aug. 6, 2020),
https://www.hsgac.senate.gov/imo/media/doc/20200806_USPS%20Response%20to
%20Peters%20et%20al%20Jul%2030%20Ltr.pdf.
42 See USPS, Postmaster General Louis DeJoy’s Opening Remarks for the USPS Board
of Governors Aug. 7 Meeting (Aug. 7, 2020),
https://about.usps.com/newsroom/national-releases/2020/0807-pmg-bog-meeting-
comments.htm.
43See USPS, Path Forward: PMG Addresses Restructuring (Aug. 13, 2020),
https://link.usps.com/2020/08/13/path-forward-2/.


                                             24
USPS “began those efforts right away,” and as a result, extra trips had already been

reduced by 71%. 44

           72.   In enacting these dramatic policy changes on a nationwide basis, DeJoy

and USPS completely ignored the statutory requirement to submit a proposal to the

Postal Regulatory Commission. Defendants wholly disregarded the statutory approval

process and failed to obtain an advisory opinion from the Postal Regulatory Commission

prior to instituting these policy changes.

           73.   Furthermore, although the operational pivot is purportedly designed to

target “soaring costs” and improve operational efficiency, it fails to explain how the new

policies effectuate those goals. 45

           74.   In practice, the Late Trip Policies can cause a chain of compounding delays

at every step of the ballot delivery process. This can affect both the mailing of ballots

from the state elections office to the voter and from the voter back to the elections office.

           75.   Delays inflicted on the mailing of blank ballots from the elections office to

the voter. There are three potential points where the Late Trip Policies can cause at

least one day of delay in the delivery of ballots from the elections office to the voter.

           76.   First, once the blank ballot is delivered to the local post office, a mail

handler has to deliver that ballot to a processing plant. But if the ballot arrives at the

local post office after the mail handler left for the processing plant, the Late Trip Policies

will not allow the mail handler to make an extra trip to deliver the blank ballot. The




44   Id.
45   Ex. 1, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020).
                                                25
mail handler must instead wait to deliver the blank ballot to the processing plant until

the next day—creating the risk of a one-day delay.

       77.    Second, after the processing plant receives and sorts the mail shipment

that contains the blank ballot, the ballot must be placed on the mail handler’s truck for

delivery from the processing plant back to the voter’s local post office. But if the blank

ballot is not processed in time for the mail handler’s scheduled delivery from the

processing plant to the post office, the Late Trip Policies require the ballot to remain at

the processing plant until the next day—creating the risk of a second one-day delay.

       78.    Third, once the blank ballot makes it back to the voter’s local post office, a

carrier has to deliver it to the voter. However, the Late Trip Policies forbid the carrier

from beginning her delivery route late. Thus, if the blank ballot arrives at the voter’s

local post office after the carrier’s trip has begun, the Late Trip Policies require the

carrier to wait to deliver the blank ballot until the next day—creating the risk of a third

one-day delay.

       79.    These delays are compounded for ballots being shipped to non-local

destinations, which must go through more than one processing center in order for the

ballot to travel from an election office to a voter. See supra, section II.A.

       80.    Delays inflicted on the delivery of completed ballots from the voter to the

elections office. This process then repeats itself (in reverse) once the voter completes

the ballot and attempts to mail it back to the election office—creating another three

opportunities for delay. Each point of delay is caused by the Late Trip Policies, which

(for the reasons set forth above) bar the additional trips needed to complete the delivery

of mail from one point in the chain to the next. In particular: First, there is the risk of a

one-day delay in the transmission of the ballot from the local delivery unit to the

                                             26
processing plant. Second, there is the risk of a one-day delay once the mail is processed

at the plant before it is delivered back to the local delivery unit. Third, there is a further

risk of a one-day delay when the mail is then transported from the local delivery unit to

the elections office.

       81.        As DeJoy acknowledged in his testimony to the House Oversight

Committee on August 24, 2020, these delays are not simply theoretical. DeJoy testified

that these policies were directly responsible for delays in delivery, and “expose[d] a need

to realign some of [USPS’s] processing and scheduling that caused mail to miss the

scheduled transportation . . . .” 46 And data from an August 12, 2020 USPS document

titled “Service Performance Measurement: PMG Briefing” showed more than an 8%

decrease in on-time first-class mail delivery, and similar declines for marketing mail and

periodicals. 47

       82.        The Late Trip Policies have been implemented under the adverse

conditions of the COVID-19 pandemic, which magnifies the impact of that policy. In

particular, COVID-19 has caused staffing shortages at USPS, especially among letter

carriers. Approximately 40,000 postal workers have had to quarantine, over 6,000

have tested positive for COVID-19, and 83 have died from contracting COVID-19. 48




46See USPS, Statement of Postmaster General and Chief Executive Officer Louis DeJoy
before the House Committee on Oversight and Reform (Aug. 24, 2020),
https://about.usps.com/newsroom/testimony-speeches/082420-pmg-statement.htm.
47Service Performance Measurement: PMG Briefing, USPS (Aug. 12, 2020),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/documents/PM
G%20Briefing_Service%20Performance%20Management_08_12_2020.pdf.
48 Postmaster General Louis DeJoy Testimony Transcript August 24: House Oversight
Hearing at 4:57:39–4:57:55, Rev (Aug. 24, 2020),
https://www.rev.com/blog/transcripts/postmaster-general-louis-dejoy-testimony-
transcript-august-24-house-oversight-hearing.
                                              27
When letter carriers are sick, quarantining, dealing with the absence of child care, or

otherwise unable to complete their routes, the need for other carriers to make extra and

off-shift trips to ensure that the mail is delivered is at its greatest.

       83.     The imminent general election, which is projected to have the highest

number of mail-in ballots of all time, has further increased the need for late, extra, and

off-shift trips. The combination of the sheer expansion of mail-in ballots for the general

election and the critical importance of timely delivery of Election Mail has heightened

the importance of ensuring that postal workers have the flexibility and extended hours

necessary to complete deliveries on schedule.

       B.      The Specific Delays Inflicted by the Late Trip Policies

       84.     The impact of DeJoy’s policies on the right to vote varies to some degree

with each state’s election deadlines. The attached chart provided in Exhibit 2 to this

Complaint sets forth the specific impact for states that are most critically affected by

these policies. As set forth in the chart, the impact has been admitted by USPS in its

July 29, 2020 letters. In light of these facts, it is clear that the Challenged Policies

materially burden individuals’ right to vote in at least the following three scenarios.

       85.     First, 16 states have deadlines by which an individual may apply for an

absentee ballot that are very close to Election Day. At the same time, these 16 states

have strict receipt-by-Election-Day deadlines for completed ballots. Defendants’

policies create delays on both the election board’s mailing of a blank ballot and the

voter’s return of the completed ballot, making it nearly impossible for the voter to meet

their state’s receipt-by-Election-Day deadline. If an individual in any of these 16 states

submits their application for an absentee ballot on the last day allowed by the state, and

the state immediately mails this person their absentee ballot, Defendants’ policies, and

                                               28
the delays associated with them, will likely cause the voter to receive their absentee

ballot on Election Day or shortly before then. And even assuming that the voter receives

their blank ballot before Election Day, the additional delays caused by Defendants’

policies also makes it highly likely that the completed ballot will not be received by the

election official on or before Election Day.

       86.    Second, 29 states have receipt-by-Election-Day deadlines for completed

ballots. In these states, Plaintiffs will be unable to vote by mail during the weekend

before the election, because Defendants’ policies will likely delay the return of Plaintiffs’

ballots such that they arrive past the states’ receipt-by-Election-Day deadline.

       87.    Third, some states will count a completed ballot if it is postmarked on or

before Election Day and received within three days or fewer after Election Day. In these

states, Defendants’ policies will also likely delay the delivery of these ballots such that

they are not received within three days or fewer after Election Day, even if the voter

timely returns their ballot and USPS timely postmarks it.

              1.     Defendants’ Policies Will Impact Voters Who Apply for
                     Absentee Ballots by Their State’s Deadline for Receipt of
                     Absentee Ballot Applications.

       88.    Currently, 29 states have receipt-by-Election-Day deadlines, which require

completed ballots to be received by election officials on or before Election Day. Even if a

returned ballot is postmarked (i.e., marked as received by USPS) on or before Election

Day, it will not be counted unless it is received by election officials on Election Day.

       89.    Of these 29 states with a receipt-by-Election-Day deadline, 16 of them

have deadlines by which election officials may receive an application for an absentee




                                               29
ballot within seven days of Election Day. 49 These 16 states include Arkansas, Oklahoma,

Pennsylvania, and Tennessee (Application Deadline of October 27); Alabama, Maine,

and Wisconsin (Application Deadline of October 29); Georgia, Louisiana, Michigan, and

South Carolina (Application Deadline of October 30); and Connecticut, Delaware, New

Hampshire, South Dakota, and Wyoming (Application Deadline of November 2). 50

         90.    Defendants’ Late Trip Policies (compounded by the pandemic, the volume

of Election Mail, and Defendants’ additional policies) threaten to disenfranchise voters

who comply with a state’s Application Deadline, and who, but for Defendants’ delay,

would have their votes counted.

         91.    An example is illustrative here. In Pennsylvania, an individual may apply

for an absentee ballot up until October 27—one week before the election. Assume that

the election official receives the voter’s application on October 27 and mails out a blank

ballot to the voter that same day, and that the Defendants provide First-Class treatment

(striving for a two- to five-day delivery timeline) to the blank ballot. If one assumes the

fastest possible delivery—two days—that would mean that the blank ballot would be

received on October 29. But if one adds the three days of delay due to Defendants’

policies (and accounts for the fact that the mail is not delivered on Sunday), the voter

would not receive the ballot until Monday, November 2. If the voter then immediately

filled in the ballot and put it in the mail, she would not be able to have any confidence

that it would be received by the end of the day on Tuesday, November 3—especially in

light of the potential three-day delay on the delivery of her ballot to the election officials.



49   We refer to this deadline as the “Application Deadline.”
50See Ex. 2, Chart of States Where Voters’ Mail-in Ballots Are Impacted By Defendants’
Delays.
                                              30
       92.     Even if the voter applied before her state’s Application Deadline,

Defendants’ policies create the same result. For example, a more cautious voter may

apply for her absentee ballot on October 24, three days before her state’s Application

Deadline of October 27. But even under the same assumptions set forth above (two-day

First-Class Mail with no Sunday delivery), the additional three-day delay caused by

Defendants’ policies means that the voter would not receive her blank ballot until

Friday, October 30. And even if she voted and mailed out her completed ballot that day,

the three-day delay attributable to Defendants’ policies means that her completed ballot

would not be received until November 5, three days after the election, thus rendering

her vote invalid. 51

       93.     This scenario is also likely to play out in the other receipt-by-Election-Day

states, several of which—including Wisconsin, where Plaintiff Aaron Carrel resides and

votes—permit voters to request ballots even later than Pennsylvania.

       94.     As set forth in Exhibit 2, in the nearly 50 letters that USPS General

Counsel Thomas Marshall mailed to state election officials, Defendants admit that their

policies will cause delays that may disenfranchise voters who apply for absentee ballots

as described. Specifically, USPS advised election officials that “if a voter submits a

request [for an absentee ballot] at or near [October 27], and the ballot is transmitted to

the voter by mail, there is a significant risk that the voter will not have sufficient time to

complete and mail the completed ballot back to election officials in time for it to arrive


51Note that these two scenarios assume that all Election Mail is treated as First Class
mail, as DeJoy has maintained in his recent testimony before Congress, but this
assumption is undercut by the July 29 letters themselves, which communicated to
election officials that ballots sent by Marketing Mail will be ordinarily delivered on a 3–
10 day timeline, and that no specific transit times can be guaranteed.


                                              31
by the state’s return deadline.” 52 Yet despite recognizing the “significant risk” of

disenfranchisement, Defendants continue to implement policies that delay the delivery

of First-Class Mail, including Election Mail, and—in the same breath—admit that USPS

“cannot adjust its delivery standards to accommodate the requirements of state election

law.” 53

           95.   This position is all the more alarming given that Defendants’ policy

changes were instituted in violation of their statutory obligation to submit proposals to

the Postal Regulatory Commission before implementation. See supra, sections II.B &

III.A.

                 2.    Defendants’ Policies Will Impact Voters in States with
                       Receipt-by-Election-Day Deadlines.

           96.   Independent of the impact on Application Deadlines, Defendants’ policies

impact voters in the 29 states with receipt-by-Election-Day deadlines, by compressing

the timeline in which a voter must mail her completed ballot to ensure that her vote is

counted.

           97.   A simple example highlights the risks associated with this delay. Assume

again that a voter in Colorado—where Plaintiffs Voces Unidas, COLOR, and Padres &

Jóvenes Unidos strive to engage Latinx voters, and where thousands of members of

COLOR and Padres & Jóvenes Unidos reside and vote—submits her completed ballot by

First-Class Mail, which in the ordinary course could be delivered in two days. The

additional three-day delay engendered by Defendants’ policies, however, would preclude

voters from voting by mail on the Saturday before the election. Put another way, any



52   See, e.g., Ex. 3, USPS Letter to Pennsylvania at 2 (emphasis added).
53   Id.
                                              32
completed ballots mailed on October 31, or later, would not be received by the local

election office by Election Day—thus rendering any such completed ballot invalid.

         98.    This scenario is likely to play out in all 16 receipt-by-Election-Day deadline

states—including Wisconsin, where Plaintiff Aaron Carrel resides and votes.

         99.    Defendants’ admissions are consistent with this timeline. In letters that

USPS sent to state election officials on July 29, 2020, Defendants have stated that

completed ballots must be mailed by voters on October 27 if they are to be received by

Election Day. The need for a full week reflects the additional risk of a three-day delay

(on top of the normal First Class standard of service) created by Defendants’ policies. 54

         100.   This harm is particularly acute for voters in Colorado, Hawaii, and Oregon,

who not only face a “receipt by Election Day” deadline but also have no alternative to

effectuate their right to vote without the threat of being disenfranchised by delay,

because their states conduct elections entirely by mail. Furthermore, voters in Alabama

and Indiana are likely to suffer severe impacts attributable to Defendants’ policies

because their ballots must be received by noon on Election Day, 55 and in Louisiana, on

the day before the election. 56

         101.   In light of the ongoing pandemic, swarms of voters have opted to forgo

voting in person in favor of voting by mail. Consequently, Defendants’ Late Trip

Policies—which were implemented in the midst of this pandemic, following numerous




54   See, e.g., Ex. 3, USPS Letter from T. Marshall to Sec’y Boockvar (July 29, 2020).
55   Ala. Code § 17-11-18; Ind. Code Ann. § 3-11.5-4-7.
56La. Rev. Stat. 18:1308 (mailed ballots must be received by day before election at 4:30
p.m.).
                                              33
reports of ballots being rejected for untimeliness through no fault of the voter—threaten

to disenfranchise voters en masse.

              3.       Defendants’ Policies Will Impact Voters With Postmark
                       Deadlines of Three Days or Fewer.

       102.   Defendants’ policies—and resulting injury to Plaintiffs—also apply in

states with a “postmark deadline” of three days or fewer. In these states, a completed

ballot will be counted by election officials if it is postmarked on or before Election Day

and received within three days, or fewer (depending on the state), after Election Day. 57

These states include Texas (counts ballots received one day after Election Day); New

Jersey (counts ballots received two days after Election Day); and Kansas, Kentucky,

Massachusetts, North Carolina, and Virginia (counts ballots received up to three days

after Election Day).

       103.   Because Defendants’ policies may generate at least a three-day delay, there

is a significant risk that a completed ballot that is postmarked by Election Day will not

be received by the states’ postmark deadline (i.e., received within one to three days after

Election Day).

       104.   For example, if Defendants accepted custody of a completed ballot in New

Jersey and postmarked it on Election Day, for that ballot to be counted, New Jersey

election officials must receive it within two days after Election Day. Under the fastest

First-Class Mail delivery estimate (two days), there was a chance that the postmarked

ballot would be received in time. But under Defendant’s policies—which may create at




 See Ex. 2, Chart of States Where Voters’ Mail-in Ballots Are Impacted By Defendants’
57

Delays.
                                             34
least a three-day delay—there is little to no chance that the ballot in fact will meet the

postmark deadline.

           105.   Put simply, voters who follow the rules are “set up for failure,” based on

policies implemented by Defendants that are beyond Plaintiffs’ control. 58

IV.        DeJoy’s Refusal to Restore Sorting Machines Has Burdened the Right
           to Vote.

           106.   The decommissioning and destruction of sorting machines has accelerated

under DeJoy’s tenure. 59 While USPS has similarly decommissioned such machines

before, the current rate of decommissioning far exceeds that of years past. For example,

USPS decommissioned roughly 3% of sorting machines in 2018, and 5% of sorting

machines in 2019. 60 In 2020, the number of machines USPS has removed or

decommissioned amounts to a 260% increase in the rate of machines decommissioned

the year before. 61

           107.   Specifically, Postmaster General DeJoy moved to decommission one of

every ten USPS mail sorting machines in USPS’s inventory, 62 including one of every




58Pam Fessler & Elena Moore, Signed, Sealed, Undelivered: Thousands Of Mail-In
Ballots Rejected for Tardiness, NPR (July 13, 2020),
https://www.npr.org/2020/07/13/889751095/signed-sealed-undelivered-thousands-
of-mail-in-ballots-rejected-for-tardiness.
59Jacob Bogage & Christopher Ingraham, Here’s Why the Postal Service Wanted to
Remove Hundreds of Mail-Sorting Machines, Wash. Post (Aug. 20, 2020),
https://www.washingtonpost.com/business/2020/08/20/postal-service-mail-sorters-
removals/.
60   Id.
61   Id.
62   Cox, supra note 12.


                                                35
seven Delivery Barcode Sorter (DBCS) machines. 63 DBCS machines make up the bulk of

USPS’s mail sorting operation and are used to sort envelope mail, such as letters,

postcards, and—critically—ballots. 64 DBCS machines are capable of sorting through

35,000 pieces of mail per hour. 65

           108.   USPS planning documents reflect that, in June and July, USPS planned to

remove 746 letter sorting machines, including both DBCS and other machines. 66 Since

then, it has been reported that subsequent additional USPS internal documents

reflected that “USPS planned to remove 502 DBCS (Delivery Barcode Sorter) machines,

or 13.2% of its total inventory by September 30,” and that “nearly 95%, or 475, of those

were scheduled to be removed by the end of July.” 67 The nationwide loss of 475 DBCS

machines is equivalent to losing the ability to process 16,625,000 ballots an hour.

           109.   As sorting machines have been decommissioned or removed, postal

workers have reported massive backlogs of mail to be processed. In Wisconsin, where

Plaintiff Aaron Carrel resides and votes, USPS has closed several local distribution




63Paul P. Murphy & Curt Devine, Internal USPS Documents Raise Questions About
Effectiveness of Sorting Machines Removal Order, CNN (last updated Aug. 16, 2020),
https://www.cnn.com/2020/08/16/politics/usps-documents-sorting-machine-
removal-order/index.html.
64Aaron Gordon, The Post Office Is Deactivating Mail Sorting Machines Ahead of the
Election, Vice (Aug. 13, 2020), https://www.vice.com/en_us/article/n7wk9z/the-post-
office-is-deactivating-mail-sorting-machines-ahead-of-the-election.
65   Id.
66USPS Equipment Reduction Plan, 21st Century Postal Worker (July 9, 2020),
https://www.21cpw.com/usps-equipment-reduction-plan/.
67Murphy & Devine, supra note 63; Paul P. Murphy, These are the Sorting Machines
USPS Removed that Would Handle Mail and Election Ballots, CNN (Aug. 21, 2020),
https://www.cnn.com/2020/08/21/politics/usps-mail-sorting-machines-photos-
trnd/index.html.


                                              36
centers in recent years, forcing postal workers to route ballots mailed by election

officials out of town to one of the few remaining distribution centers. Despite the added

stress that the closure of distribution centers places on the remaining facilities to

process mail for large populations around the state, the USPS planning documents

reflected that 12 DBCS machines would be decommissioned in Wisconsin by the end of

July.68 This includes the decommissioning of two sorting machines in Madison, 69 where

Plaintiff Aaron Carrel resides and votes, which threatens to delay the sorting (and,

thereby, the delivery) of ballots to Carrel and other voters.

           110.   The Washington Post published a map detailing which areas have seen

reduced sorting capacity using data obtained from USPS:




                                                                                 70




68USPS Equipment Reduction Plan, 21st Century Postal Worker (July 9, 2020),
https://www.21cpw.com/usps-equipment-reduction-plan/.
69   Id.
70   See Bogage, supra note 59.
                                             37
       111.   DeJoy has made clear that he has no intention of replacing or reconnecting

the sorting machines that were decommissioned or dismantled at an accelerated pace

under his tenure. Following a conversation with DeJoy, House Speaker Nancy Pelosi

released a statement saying DeJoy “frankly admitted that he had no intention of

replacing the sorting machines.” 71 And when Senator Gary Peters asked DeJoy if he

intended to replace the sorting machines that had already been removed, DeJoy

testified: “There is no intention to do that. They’re not needed, sir.” 72

       112.   DeJoy’s failure to restore the decommissioned sorting machines will

impact USPS’s timeliness in delivering Election Mail. For example, USPS

representatives have also reported that sorting machines have been removed in

Colorado. 73 These removals will lead to delays in postmarking and delivery of ballots

due to the increased load on the few remaining sorting machines. This will significantly

burden the right to vote in light of Colorado’s all-mail elections.

       113.   Because this additional sorting capacity was eliminated in the months

leading up to an election with record-breaking numbers of individuals who need to vote

by mail, DeJoy’s refusal to restore the decommissioned sorting machines will surely




71Press Release, Nancy Pelosi, Speaker, House of Representatives, Pelosi Statement
After Conversation with Postmaster General (Aug. 19, 2020),
https://www.speaker.gov/newsroom/81920.
72Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at 34:16,
Rev (Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-hearing-with-
postmaster-general-louis-dejoy-august-21-transcript.
73Sonia Gutierrez, Denver-Area Post Office Employees Call for Changes, 9News (last
updated Aug. 27, 2020), https://www.9news.com/article/news/local/local-
politics/usps-employees-call-for-changes-denver-area/73-27255e2f-f713-4449-8f68-
755f19f92c0b.
                                             38
delay the processing of ballots for people who vote in the weeks leading up to the

election, and will consequently disenfranchise voters across the country.

V.       DeJoy’s Purported Backtracking Under Immense Public Pressure in
         Advance of the 2020 Election Did Not Eliminate the Challenged
         Policies’ Burden on the Right to Vote.

         114.   The Challenged Policies took place in the context of a broader set of

circumstances and actions by USPS that impaired the ability to vote by mail—all of

which were met with intense public pressure.

         115.   For example, in this same time period, USPS issued inconsistent

statements regarding the availability of overtime. The July 14, 2020 USPS PowerPoint

presentation entitled “PMGs expectations and plans” stated that both overtime and paid

overtime “will be eliminated.” 74 Since that letter, it has been reported that overtime has

been “drastically reduced.” 75

         116.   According to data from the American Postal Workers Union, almost 20%

of all work done by USPS mail handlers, delivery drivers, and city carriers was done in




74July 14 USPS PMG Presentation, supra note 39. DeJoy testified before the Senate
Homeland Security and Governmental Affairs Committee on August 21, 2020, and
stated that USPS has “never eliminated overtime.” See Senate Hearing with Postmaster
General Louis DeJoy August 21 Transcript at 33:13, Rev (Aug. 21, 2020),
https://www.rev.com/blog/transcripts/senate-hearing-with-postmaster-general-louis-
dejoy-august-21-transcript.
75   See Cox, supra note 12.


                                              39
overtime. 76 USPS employees utilize overtime “to handle surges in mail—including mail-

in ballots.” 77

           117.   Postal workers in California reported that, upon DeJoy’s decision to

restrict overtime, “the [processing] facility was in chaos . . . [w]ithin days.” 78 One visitor

stated the facility’s “parking lot was crammed with semi-trailers piled high with

unsorted mail; the warehouse-like facility was packed ‘wall to wall’ with mail.” 79

           118.   This all occurred at the same time as USPS statements calling into

question the First-Class status traditionally afforded to Election Mail, 80 the now-paused

removal of mail collection boxes, 81 and the implementation of the Expedited to




76Nicole Goodkind, Trump-Backed Postmaster General Plans to Slow Mail Delivery,
Fortune, Fortune (July 24, 2020), https://fortune.com/2020/07/24/usps-mail-
delivery-postmaster-general-louis-dejoy-us-postal-service/.
77Letter from House Speaker Nancy Pelosi and Senate Minority Leader Charles
Schumer to Postmaster Gen. Louis DeJoy, at 5 (Aug. 14, 2020),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2020-08-
14.Pelosi%20et%20al.%20to%20DeJoy-PMG%20re%20Election%20Prep.pdf.
78Laura J. Nelson & Maya Lau, “Like Armageddon”: Rotting Food, Dead Animals and
Chaos at Postal Facilities Amid Cutbacks, L.A. Times (Aug. 20, 2020),
https://www.latimes.com/california/story/2020-08-20/usps-cutbacks-post-office-
chaos.
79   Id.
80 See, e.g., Luke Broadwater & Hailey Fuchs, A New Clash Over Mail Voting: The Cost
of the Postage, N.Y. Times (last updated Aug. 18, 2020),
https://www.nytimes.com/2020/08/11/us/politics/post-office-mail-in-voting.html;
Jacob Bogage, Trump Says Postal Service Needs Money for Mail-In Voting, But He’ll
Keep Blocking Funding, Wash. Post (Aug. 12, 2020),
https://www.washingtonpost.com/business/2020/08/12/postal-service-ballots-dejoy/.
81See, e.g., Jacob Bogage, Postal Service Will Stop Removing Mailboxes, Wash. Post
(Aug. 14, 2020), https://www.washingtonpost.com/business/2020/08/14/people-are-
freaking-out-about-mailbox-removals-postal-service-says-its-routine/.


                                               40
Street/Afternoon Sortation (“ESAS”) pilot program that further restricted mail sorting

and delivery practices. 82

       119.   The convergence of these practices—in the middle of a pandemic and in

the months preceding the presidential election—was followed by widespread public

outcry from thousands of protesters nationwide, including those who participated in the

more than 800 demonstrations at post offices that took place on August 22, 2020. 83

       120.   On August 18, 2020, DeJoy released a public statement purporting to

suspend certain of these changes that had been implemented pursuant to “longstanding

operational initiatives” that “predate my arrival at the Postal Service.” 84

       121.   Critically, DeJoy’s statement did not purport to suspend the new changes

implemented at his direction—including the Late Trip Policies announced in the July 10




82See, e.g., David Ewing Duncan, “It Looks Like They’re Targeting Blue Urban Areas”:
New Postal Service Plan Is Setting Off Election Alarms, Vanity Fair (Aug. 21, 2020),
https://www.vanityfair.com/news/2020/08/new-postal-service-plan-is-setting-off-
election-alarms; USPS Announces New ESAS Delivery Initiative Test, Nat’l Assoc.
Letter Carriers (July 21, 2020), https://www.nalc.org/news/nalc-updates/usps-
announces-new-esas-delivery-initiative-test.
83Emily Davies, ‘Save the Post Office Saturday’ draws thousands of protesters
nationwide, Wash. Post (Aug. 22, 2020), https://www.washingtonpost.com/local/save-
the-post-office-saturday-draws-thousands-of-protesters-
nationwide/2020/08/22/ee09d094-e4b8-11ea-8dd2-d07812bf00f7_story.html.
84Press Release, Postmaster General Louis DeJoy Statement, USPS (Aug. 18,2020),
https://about.usps.com/newsroom/national-releases/2020/0818-postmaster-general-
louis-dejoy-statement.pdf; see also Statement of Postmaster General and Chief
Executive Officer Louis DeJoy before the House Committee on Oversight and Reform,
USPS (Aug. 24, 2020) (purporting to pause removal of sorting machines and collection
boxes, and to walk back ESAS program and questioning of first-class mail status),
https://about.usps.com/newsroom/testimony-speeches/082420-pmg-statement.htm.


                                             41
operational pivot directing reductions in service. And in his testimony before the House

and Senate, DeJoy reaffirmed that he did not intend to suspend the Late Trip Policies. 85

           122.   DeJoy’s August 18 statement did not address the specific points articulated

in the “PMGs expectations and plan” PowerPoint related to the Late Trip Policy other

than to say that “overtime has, and will continue to be, approved as needed.” 86 The

statement does not purport to rescind the policy that, if postal workers “get mail late

and [their] carriers are gone and [they] cannot get the mail out without [overtime] it will

remain for the next day. 87 Nor does it rescind the policy of curtailing late trips by mail

carriers and stating that “plants are not to send mail late.” 88

           123.   Unlike the PowerPoint, which referenced both paid overtime and

overtime, DeJoy’s statement does not specify whether he is lifting the suspension of

overtime pay or overtime hours. And, because the Late Trip Policies banning late and

extra network, plant, and delivery trips remain in place, the supposed availability of




85Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at
32:28–33:00, Rev (Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-
hearing-with-postmaster-general-louis-dejoy-august-21-transcript (“Senator Peters: . . .
Are you suspending your policy eliminating extra trips? Yes or no? Louis DeJoy: No.
First of all, the policy was not to eliminate extra trips. It was to mitigate extra trips.
Senator Peters: Okay. So no to that.”); CQ Congressional Transcripts, House Oversight
and Reform Committee Holds Hearing on Postal Service Operational Changes (Aug.
24, 2020), https://plus.cq.com/alertmatch/454152495?0&deliveryId=64929757&
uid=congressionaltranscripts-5991590&utm_medium=alertemail&utm_source=alert&
openinplus=true (“The change I made was asked the team to run the trucks,
transportation on time and mitigate extra trips . . . I would not know how to reverse that
now. Am I to say don’t run the trucks on time? Is that the answer that we’re looking to
get me to say here today?”).
86   July 14 USPS PMG Presentation, supra note 39.
87   Id.
88   Id.


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overtime may be an illusion—if late trips and post-shift work are forbidden, then there is

no work involving the transportation of mail for which overtime could be authorized.

       124.   And although DeJoy has now paused certain of the programs that started

before his tenure, DeJoy has since made clear that he has no intention of replacing or

reconnecting the decommissioned machines, even though their removal was accelerated

during his time as Postmaster General. 89 This distinction is critical, because the various

internal USPS planning documents indicated that, by the time DeJoy issued his

statement on August 18, USPS was set to have alreday decommissioned more than 95%

of the sorting machines that were scheduled to be removed. 90

VI.    Defendants’ Policies Will Delay the Delivery of Election Mail.

       A.     The Delay Inflicted on All Voters

       125.   A delay in delivery can mean that a “voter’s right to vote . . . may hinge on

random chance,” with two ballots mailed at the same time, at different post offices,

whether either vote is counted depends “entirely on the speed at which their local post

office delivered their votes.” Gallagher v. New York State Bd. of Elections, No. 20 CIV.

5504 (AT), 2020 WL 4496849, at *20 (S.D.N.Y. Aug. 3, 2020). The government cannot

overlook or dismiss a “systemic problem that arbitrarily renders [thousands of] ballots

invalid.” Id. at *17.




89Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at 34:16,
Rev (Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-hearing-with-
postmaster-general-louis-dejoy-august-21-transcript.
90Murphy & Devine, supra note 63 (95% of target decommissioned by August 16,
2020); https://www.21cpw.com/usps-equipment-reduction-plan/ (100% of target
decommissioned by July 28).


                                            43
       126.   The Challenged Policies individually and collectively inject an intolerable

risk of delay into the 2020 election.

       127.   USPS data shows that “there has been a significant drop in service

standards across the board since the beginning of July—including in First-Class,

Marketing, Periodicals, and Priority Mail”: 91




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       128.   As the above chart highlights, since DeJoy took over as Postmaster

General, USPS service scores are 8.10% lower than baseline. And the majority of that




91House Committee on Oversight and Reform, New Postal Service Documents Show
Nationwide Delays Far Worse Than Postal Service Has Acknowledged (Aug. 22,
2020), https://oversight.house.gov/news/press-releases/new-postal-service-
documents-show-nationwide-delays-far-worse-than-postal.
92House Committee on Oversight and Reform, USPS Service Performance
Measurement, PMG Briefing (Aug. 12, 2020),
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/documents/PM
G%20Briefing_Service%20Performance%20Management_08_12_2020.pdf


                                            44
drop resulted from a delay in processing—the service performance from USPS

possession to last processing scan is 7.96% lower than baseline. 93

           129.   The following chart, based on USPS data from the Eastern seaboard,

shows a similar dramatic drop-off in timely deliveries in the immediate aftermath of the

July 10 Late Trip Policies:




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           130.   The cause of this deterioration in service has been identified by the

Postmaster General himself in his Congressional testimony. In DeJoy’s words, he only

made “one change” in this time period that accounted for the drop-off in early July: he




93   Id.
94 USPS, Eastern Area AIM Meeting - Service Update (Aug. 4, 2020),
https://postalpro.usps.com/node/8407 (including Figures 1 and 2). For Figures 1 to 4,
“SPYL” refers to “same period last year.” Additionally, FY2020 started on October 1,
2019 for the U.S. Postal Service. Accordingly, Week 41 corresponds to the week of July
5.


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“asked the team to run the transportation on time and mitigate extra trips” in July

2020—i.e., the Late Trip Policies—and then the service scores significantly declined. 95

       131.   As David Williams, former Vice Chair of the USPS Board of Governors, has

explained, these “service scores are probably the best objective measure and those are

significantly off.” This data is especially striking because of the decline in mail volume

during the COVID-19 pandemic, “where even though there’s less mail, it’s moving more

slowly—much more slowly.” 96

       132.   Nor can the fall in service scores be attributed to personnel shortages

caused by the pandemic. It is notable that, through the early months of the pandemic,

there was no appreciable drop in such scores. They only collapsed following the

announcement of DeJoy’s Late Trip Policies on July 10, 2020.

       133.   Since DeJoy’s “operational pivot,” additional anecdotal reports of

substantial delays and disruptions in mail service have accumulated nationwide.

According to postal workers, DeJoy’s policies are already resulting in “delivery delays of

at least two days across the country.” 97




95Postmaster General Louis DeJoy Testimony Transcript August 24: House Oversight
Hearing at 3:49:09, Rev (Aug. 24, 2020),
https://www.rev.com/blog/transcripts/postmaster-general-louis-dejoy-testimony-
transcript-august-24-house-oversight-hearing.
96 Congressional Progressive Caucus, CPC Hearing on Attacks on the US Postal Service
at 1:29:14–1:29:25 (Aug. 20, 2020),
https://www.facebook.com/USProgressives/videos/cpc-hearing-on-attacks-on-the-us-
postal-service/1147601832293608/.
97Jessica Dean, Jessica Schneider, & Caroline Kelly, Postal Service Says it has “Ample
Capacity” to Handle Election After Trump Casts Doubt, CNN (Aug. 3, 2020),
https://www.cnn.com/2020/08/03/politics/postal-service-ample-capacity-election-
trump/index.html (emphasis added).


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            134.   Multiple postal worker unions have affirmed that DeJoy’s new policies are

severely limiting mail transportation and causing mail to be left at sorting plants for

days longer than typical. 98 The American Postal Workers Union, “which represents

more than 200,000 Postal Service employees and retirees, has received a number of

reports from postal workers and customers” from mid-July to early August “that mail

delivery has slowed and ‘degraded.’” 99

            135.   On August 7, 2020, a “postmaster in upstate New York . . . told their union

that the regular mail was two days behind and, for the first time in their career, Express

Priority Mail was not going out on time.” 100 Similarly, Mark Dimondstein, the President

of the American Postal Workers Union, reported that he has heard from several postal

workers “who say Monday mail isn’t going out until Wednesday and that in some

jurisdictions on some days, mail isn’t going out at all.” 101 Dimondstein makes clear the

cause of the delays: “They’re ordering workers to leave mail for another day.” 102 Indeed,

at one post office, a postal clerk reports that under these new policies, “some mail is

arriving a day later at the processing facility, where it could be delayed again.” 103




98Russell Berman, What Really Scares Voting Experts About the Postal Service, The
Atlantic (Aug. 14, 2020), https://www.theatlantic.com/politics/archive/2020/08/how-
postal-service-preparing-election/615271/.
99    Dean, supra note 97.
100See Adam Clark Estes, What’s Wrong With the Mail, Vox (Aug. 7, 2020),
https://www.vox.com/recode/2020/8/7/21358946/postal-service-mail-delays-
election-trump-mail-in-ballots.
101   Berman, supra note 97.
102   Id.
103   Nelson, supra note 78.


                                                47
       136.   USPS employees and union representatives have expressed serious

concerns about the impact of the recent changes on their ability to process and deliver

mail in a timely manner. In Maine, postal workers reported leaving 80,000 letters

behind because they were not permitted to wait 10 minutes for them to be processed. 104

In Washington, D.C., hundreds of residents went two weeks without receiving any

mail. 105 And in New York, the president of a local chapter of the American Postal

Workers Union reported that, as a result of the changes in service, “we’ve had entire

towns that didn’t get their mail that day,” including “some of the bigger ones—East

Aurora, Lancaster.” 106 There have been similar reports of delays in mail service

throughout the country, including in Alabama, California, Colorado, Connecticut,

Illinois, Maryland, Michigan, Minnesota, Missouri, Nevada, New Mexico, Ohio, Oregon,

Pennsylvania, Rhode Island, South Carolina, Texas, Utah, Vermont, Washington,

Wisconsin, and Virginia. 107



104See Alison Durkee, Postmaster General Acknowledges ‘Unintended Consequences’ of
USPS Changes Causing Mail Delays, Forbes (Aug. 14, 2020),
https://www.forbes.com/sites/alisondurkee/2020/08/14/postmaster-general-louis-
dejoy-acknowledges-unintended-consequences-of-usps-postal-service-changes-mail-
delays/#764bfdf46052.
  Kolbie Satterfield, Southwest DC Residents Go Weeks Without Mail Being Delivered,
105

WUSA9 (Aug. 13, 2020), https://www.wusa9.com/article/news/local/dc/two-weeks-
no-mail-in-southeast-dc-neighborhood/65-31535798-3c83-45f8-b0e4-775ce6d6e8f8.
106Jerry Zremski, Mail Delays, Days With No Delivery Prompt Rising Concern In WHY
(Aug 13. 2020), https://buffalonews.com/news/national/govt-and-politics/mail-delays-
days-with-no-delivery-prompt-rising-concern-in-wny/article_d9944036-dd92-11ea-
8f15-778f24015679.html.
107See, e.g., State of Washington v. Trump, No. 1:20-cv-03127 (E.D. Wash. Aug. 8,
2020), https://agportal-s3bucket.s3.amazonaws.com/001_ComplaintUSPS.pdf;
Andrew Brown & Andrew Miller, Some SC Businesses Say They are Experiencing
Delays Because of US Postal Service Changes, The Post and Courier, (Aug. 14, 2020),
https://www.postandcourier.com/business/some-sc-businesses-say-they-are-


                                           48
       137.   USPS has publicly acknowledged its own fears regarding its capability to

handle on-time delivery of Election Mail submitted close to Election Day. On July 29,

2020, after DeJoy’s policies went into effect and noticeable service delays took place,

USPS sent letters to 46 states and the District of Columbia, expressly stating that USPS

“cannot guarantee all ballots cast by mail for the November election will arrive in time to

be counted.” 108

       138.   The July 29 letters warned that “there is a significant risk that, at least in

certain circumstances, ballots may be requested in a manner that is consistent with your

election rules and returned promptly, and yet not be returned in time to be counted.”

To account for that risk, USPS “recommend[ed] that election officials use First-Class

Mail to transmit blank ballots and allow 1 week for delivery to voters,” even though

many states’ election laws permit voters to request a ballot within one week of Election

Day. These letters make clear the “grim possibility for the tens of millions of Americans


experiencing-delays-because-of-us-postal-servicechanges/article_e8716d38-dd6d-11ea-
9c9e-a79f1c82a446.html; Ellie Rushing, Mail Delays are Frustrating Philly Residents,
and A Short-Staffed Postal Service is Struggling to Keep Up, Philadelphia Inquirer
(Aug. 2, 2020), https://www.inquirer.com/news/philadelphia/usps-tracking-in-transit-
late-mail-delivery-philadelphia-packages-postal-service-20200802.html; Lauren
Walsh, Central Alabama Experiences Some Mail, Package Delays as USPS, UPS Feel
COVID-19 Impact, ABC33/40 News (Aug. 12, 2020),
https://abc3340.com/news/local/central-alabama-experiences-some-mail-package-
delays-as-usps-ups-feel-covid-19-impact; Ron Trevino, USPS Delivery Delays Leave
82-year-old Texas Man Without Heart Medication for a Week, WBNS (Aug. 17, 2020),
https://www.10tv.com/article/news/nation-world/usps-delays-leave-humble-man-
withoutheart-medication/285-49815193-bf3d-4b45-a1a5-b0afe16236f7; David
Manoucheri, People Wait Weeks, Months for Packages to be Delivered, KCRA, (Aug. 15,
2020), https://www.kcra.com/article/people-wait-weeks-months-for-packages-to-be-
delivered/33606613; Ginna Roe, Utah Diabetic Waiting for More Than a Week For
Supplies By Mail, KUTV, (Aug. 17, 2020); https://kutv.com/news/local/utah-diabetic-
waiting-more-than-a-week-for-supplies-by-mail.
108Cox, supra note 12 (noting that USPS has “no objection” to the mail-in ballot plans of
four states: Nevada, New Mexico, Rhode Island, and Oregon).


                                             49
eligible for a mail-in ballot this fall: Even if people follow all of their state’s election

rules, the pace of USPS delivery may disqualify their votes.” 109

            139.   On July 30, 2020, USPS spokesperson David Partenheimer acknowledged

in a statement to the Washington Post that USPS’s recent changes have resulted in

“service impacts.” 110 And in a subsequent letter to USPS workers on August 13, 2020,

DeJoy himself acknowledged that delivery slowdowns were “unintended consequences”

of his new policies. 111 Critically, it is “not entirely clear how temporary the delays will

be.” 112 And for now, the delays have continued. In particular, because of the Late Trip

Policies, numerous pieces of mail are left behind at both processing plants and delivery

centers, while the unavailability of overtime has left workers with insufficient hours to

process and deliver mail, leading to larger and larger piles of left-behind mail. 113

            140.   In a hearing before the Senate Homeland Security and Governmental

Affairs Committee on August 21, 2020, DeJoy again admitted that his recent changes

are responsible for these delays across the United States: “Unfortunately, some mail did

not . . . Our production processing within the plants was not fully aligned with this



109   Id.
110Jacob Bogage, Top Democrats Say Postmaster General Acknowledged New Policies
That Workers Say Are Delaying Mail, Wash. Post (Aug. 6, 2020),
https://www.washingtonpost.com/politics/2020/08/06/top-democrats-say-
postmaster-general-acknowledged-new-policies-that-workers-say-are-delaying-mail/.
111   Cox, supra note 12.
112   Estes, supra note 100.
113See Michael Sainato, Postmaster General’s Changes Causing Mail Delays, USPS
Workers Say, The Guardian (Aug. 16, 2020),
https://www.theguardian.com/business/2020/aug/16/usps-mail-delays-postmaster-
general-changes-workers; see also James Doubek, Postal Workers Decry Changes And
Cost-Cutting Measures, KUOW (Aug. 11, 2020), https://kuow.org/stories/postal-
workers-decry-changes-and-cost-cutting-measures.


                                               50
established schedule. So we had some delays in the mail. And our recovery process in

this should have been a few days and it’s mounted to be a few weeks.” 114

        141.      In discussing his implementation of the Late Trip Policies, DeJoy testified

before the Senate that “[i]n transition there would be an issue”; that “certainly there was

a slowdown in the mail -- when our production did not meet the schedule”; that “we feel

bad about what the dip in our service, the level has been”; and that “we did not [do] as

great a job as we should” in recovering from the “imbalances” created by the

transition. 115

        142.      On August 24, 2020, DeJoy confirmed in his testimony before the House

that, because “production schedules within the plants were not aligned with the

transportation schedules going out,” “about 10% of the mail was not aligned,” which

meant “[t]he production plants were getting done late, and the trucks were leaving.” 116

        B.        Defendants’ Policies Have a Disparate Impact on Certain
                  Categories of Voters Who Have No Reasonable Alternative
                  Method of Voting Than By Mail.

        143.      Because of the risks of voting in person during the COVID-19 pandemic,

burdens on the ability to vote by mail impose a burden on all voters.



  See Sam Levine, USPS Chief Concedes Changes Causing Delays But Won’t Restore
114

Sorting Machines, The Guardian (Aug. 21, 2020), https://www.theguardian.com/us-
news/2020/aug/21/usps-louis-dejoy-senate-hearing-mail-in-voting; see also Senate
Hearing with Postmaster General Louis DeJoy August 21 Transcript at 25:52–26:54,
Rev (Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-hearing-with-
postmaster-general-louis-dejoy-august-21-transcript.
  See generally Senate Hearing with Postmaster General Louis DeJoy August 21
115

Transcript, Rev (Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-
hearing-with-postmaster-general-louis-dejoy-august-21-transcript.
116Postmaster General Louis DeJoy Testimony Transcript August 24: House Oversight
Hearing at 4:48:14, Rev (Aug. 24, 2020),
https://www.rev.com/blog/transcripts/postmaster-general-louis-dejoy-testimony-
transcript-august-24-house-oversight-hearing.
                                                51
       144.   Still, some voters are more affected by the policies than others. In

particular, DeJoy’s policies will have a disparate impact on certain categories of voters

who have no way to effectuate their right to vote other than by use of USPS’s services.

       145.   First, the policies will have a disparate impact on voters whose states carry

out all-mail elections. Voters in Colorado, Hawaii, and Oregon not only face a receipt-

by-Election-Day deadline—they also have no alternative to effectuate their right to vote

without the threat of being disenfranchised by delay, because their states conduct

elections entirely by mail. And although Utah and California have postmark deadlines,

they similarly have no alternative way to exercise their right to vote except by mail.

       146.   Second, voters for whom COVID-19 poses an especially high health risk—

and, in turn, for whom voting in person poses a risk of serious illness or death—have no

alternative to effectuate their right to vote. This includes older voters, voters with

underlying medical conditions, and voters from racial and ethnic minority groups that

the CDC has found have a disproportionately high incidence of such co-morbidities.

       147.   Third, certain voters with disabilities cannot physically get to the polls at

all, and would thereby rely on mail-in ballots even outside the strictures of the

pandemic. These voters have no alternative to effectuate their right to vote.

VII.   Defendants Have Failed to Assert a Plausible Interest That Would
       Justify the Policy Changes.

       148.   DeJoy has repeatedly reiterated two justifications for the policy changes:

efficiency and cost. Neither supplies a justification sufficient to outweigh the burden

that Defendants’ policies impose on the right to vote in the month preceding the election

on November 3, 2020. Moreover, the policy justifications appear to have been

pretextual.


                                             52
            A.     The Purported Justifications Cannot Withstand Scrutiny.

            149.   In his Senate testimony, DeJoy repeatedly described the purpose of his

measures as improving service and increasing the number of deliveries made on time. 117

For example, in response to questioning by Senator Rosen, DeJoy described the Late

Trip Policies as follows: “The only change that I made ma’am was that the trucks leave

on time. Theoretically, everyone should have got their mail faster. . . . The analysis that

we did was that if we move the mail on schedule that all late deliveries would have been

improved.” 118

            150.   As Senator Rosen responded, “Obviously, that isn’t the case.” 119 The USPS

service scores charts pictured above highlight that delivery delays increased

dramatically in the immediate aftermath of the Late Trip Policies. See supra, section

VI.A. DeJoy’s efficiency justification is further undermined by the ensuing reports of

delays in mail service in Alabama, Colorado, Connecticut, District of Columbia, Illinois,



117See, e.g., Senate Hearing with Postmaster General Louis DeJoy August 21
Transcript, Rev (Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-
hearing-with-postmaster-general-louis-dejoy-august-21-transcript (“But the change that
I made was run to our schedule, run to our transportation schedule. . . . Once we get all
the mail on those trucks, that 97% to 98% of the mail that we move around the country
will be getting to its destination point on time.”); id. (“We’re considering dramatic
changes to improve the service to the American people.”); id. (“I worked with the
existing management team to create a new organization that would look to move
forward and give us self-help and drive improvements in our service, drive cost out of
the system, and grow revenues.”); id. (“The analysis that we did was that if we move the
mail on schedule that all late deliveries would have been improved.”); id. (“And if we
adhere to our schedules, that will improve performance.”); see also
https://www.politico.com/news/2020/08/21/louis-dejoys-opening-statement-senate-
hearing-399941 (“While the improvements are dramatic, this effort did expose a need to
realign some of our processing and scheduling that caused mail to miss the scheduled
transportation, and has temporarily impacted mail and package service performance.”).
118   Id. (emphasis added).
119   Id.


                                                53
Maine, Maryland, Michigan, Minnesota, Missouri, Nevada, New Mexico, New York,

Ohio, Oregon, Pennsylvania, Rhode Island, South Carolina, Texas, Utah, Vermont,

Washington, Wisconsin, and Virginia. See supra, section III.C.

          151.    DeJoy himself acknowledged as much in his testimony before the Senate,

conceding that “[i]n transition there would be an issue”; that “certainly there was a

slowdown in the mail when-- our production did not meet the schedule”; that “we feel

bad about what the dip in our service, the level has been”; and that “we did not [do] as

great a job as we should” in recovering from the “imbalances” created by the

transition. 120

          152.    This rationale is equally deficient with respect to the sorting machines—

though DeJoy asserted they “are not needed,” his assertion is belied by the fact that

delays are already soaring and the need for fast-paced sorting will only increase as the

election draws nearer.

          153.    Even if DeJoy’s policies would generate “longterm improvement” in

efficiency, 121 that justification cannot support continuation of the policy in the month

prior to the November election There are only 68 days remaining until Election Day.

The month prior to a presidential election that will be overwhelmingly carried out by

mail is not the time to test run a new policy or the elimination of infrastructure and

hope the kinks will iron out in time.




  Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript, Rev
120

(Aug. 21, 2020), https://www.rev.com/blog/transcripts/senate-hearing-with-
postmaster-general-louis-dejoy-august-21-transcript.
121   Id. (statement of Sen. Johnson).


                                               54
       154.   The remaining justification DeJoy offers is cost. 122 This justification fails

to support the continued enforcement of the Late Trip Policies because it is overbroad.

USPS’s desire to implement cost-cutting measures from October 15 through November

15 is not justified by its need to effectuate a certain annualized savings. USPS could still

cut costs by implementing these policies after the election, when they would not

endanger the right to vote.

       155.   Because the burden on the Plaintiffs’ right to vote is at its zenith in the

month before the election—when most people are submitting their ballots and the risk

of delay becomes more likely to result in the ballot not being counted—USPS’s limited

fiscal savings in one month’s time cannot justify the infringement on Plaintiffs’ right to

vote. See, e.g., Shapiro v. Thompson, 394 U.S. 618, 633 (1969) (although the

government “has a valid interest in preserving the fiscal integrity of its programs,” it

“may not accomplish such a purpose by” violating its citizens’ fundamental rights);

Frontiero v. Richardson, 411 U.S. 677, 690 (1973) (“[A]lthough efficacious

administration of governmental programs is not without some importance, ‘the

Constitution recognizes higher values than speed and efficiency.’”).



122See, e.g., id. (“And together, we reorganized the organization to move forward on
process improvements, improving service and garnering new business, new revenue and
costs.”); id. (“Late deliveries, late dispatch, extra trips, and all the time and costs
associated around this that approximated $4 billion. We were facing, this was before we
had the note, I had $13 billion in cash and $12.5 billion of payments to make in the next
nine months. And no help insight. We had no help in sight. So I needed to look at a
positive impact on cost savings that improved the business.”); see also
https://www.politico.com/news/2020/08/21/louis-dejoys-opening-statement-senate-
hearing-399941 (“Some may ask, why does the Postal Service need to transform? To
that question, I say that while I am optimistic about the future of the Postal Service, I
am also a realist, and am keenly aware of the magnitude of the financial challenges we
face.”).


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        B.      The Purported Justifications Are Pretextual.

        156.    DeJoy’s justifications are pretextual. As noted above, the President’s own

statement makes clear that the real purpose of the Challenged Policies is to frustrate

mail balloting. While President Trump’s statements were made in the context of a

dispute regarding funding USPS, he expressly linked that lack of funds to USPS’s

inability to handle the volume of mail ballots that are anticipated in the November

election. 123

        157.    Although the USPS has sought to justify the Challenged Policies by

contending that it has insufficient funds, the President has stated both (a) that he

opposes any increase in funding, and (b) that the consequence of the funding deficit

will be the frustration of mail balloting. When one adds the voluminous evidence of

President Trump’s opposition to mail balloting, it is reasonable to infer that the reason

he has opposed an increase in funding for USPS is to effectuate his goal of blocking mail

balloting.

        158.    DeJoy’s own statements also support a finding of pretext. After vigorously

defending his policy changes on fiscal grounds, DeJoy curiously diverted from the cost

rationale in one specific context: the very funding from Congress that the President

opposes. Senator Scott asked DeJoy: “do you feel like you need a massive federal

bailout [to] be able to deliver the mail on Election Day?” DeJoy said: “No. I do not need




123Ellie Kaufman et al., Trump says he opposes funding USPS because of mail-in
voting, CNN (Aug. 13, 2020), https://www.cnn.com/2020/08/13/politics/trump-usps-
funding-comments-2020-election/index.html (emphasis added) (“But if they don’t get
those two items that means you can’t have universal mail-in voting because you [sic]
they’re not equipped to have it.”).


                                             56
a massive--I don't need anything to deliver mail on-- election night.” 124 Turning down

an alternative source of funding that would impose no burden on the right to vote

indicates that the policies are designed to impose a burden on voting rights and not to

stabilize USPS’s finances.

                                 CAUSES OF ACTION

                                        COUNT I

(Ultra Vires Agency Action — Violating the Clear Command of Section 3661
                    of the Postal Reorganization Act)

       159.   Plaintiffs re-allege and incorporate by reference each allegation contained

in the preceding paragraphs as though fully set forth herein.

       160.   USPS has a clear, indisputable, and non-discretionary duty to request an

advisory opinion from the Postal Regulatory Commission before making “any change in

the nature of postal services which will generally affect service on a nationwide or

substantially nationwide basis.” 39 U.S.C. § 3661(b) (“When the Postal Service

determines that there should be a change in the nature of postal services which will

generally affect service on a nationwide or substantially nationwide basis, it shall submit

a proposal, within a reasonable time prior to the effective date of such proposal, to the

Postal Regulatory Commission requesting an advisory opinion on the change.”).

       161.   USPS’s discharge of its duty to request an advisory opinion, initiates a

notice and comment period. After USPS’s request, the Commission must offer “an

opportunity for hearing on the record,” under the process established by the



124Senate Homeland Security and Governmental Affairs Committee Hearing on USPS
Operations During COVID-19 and the Elections, CQ Congressional Transcripts, (Aug.
21, 2020),
https://plus.cq.com/alertmatch/454024321?0&deliveryId=64865645&uid=congression
altranscripts-5990233&utm_medium=alertemail&utm_source=alert&openinplus=true.
                                            57
Administrative Procedure Act, for the benefit of and to receive comments on the

proposal from “the Postal Service, users of the mail, and an officer of the Commission

who shall be required to represent the interests of the general public.” 39 U.S.C.

§ 3661(c).

      162.   Plaintiffs are “users of the mail” under 39 U.S.C. § 3661(c).

      163.   Defendants’ Late Trip Policies have affected and will affect postal services

on a nationwide or substantially nationwide basis.

      164.   Defendants did not request of the Postal Regulatory Commission an

advisory opinion “prior to” implementing the Late Trip Policies described herein that

have affected or will affect postal services on a nationwide or substantially nationwide

basis, violating the clear and indisputable command of § 3661.

      165.   Defendants acted ultra vires when they issued the Late Trip Policies

described herein without abiding the clear and indisputable command of § 3661.

      166.   As users of the mail, Plaintiffs have a clear and indisputable right to

Defendants’ compliance with the requirements of § 3661.

      167.   Because of Defendants’ actions in violation of § 3661, Plaintiffs have been

denied the opportunity to comment during a hearing under procedures required by

§ 3661(c) on the Late Trip Policies and other changes affecting postal services on a

nationwide or substantially nationwide basis, as described herein, before their

implementation.

      168.   Nonstatutory judicial review is available in this Court. 125


  There is no possibility for judicial review by this Court or another Court under the
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Administrative Procedure Act or any other specific or general statutory review
provision. See Mittleman v. Postal Reg. Comm’n, 757 F.3d 300, 305 (D.C. Cir. 2014)


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       169.   The Postal Regulatory Commission may receive complaints about

Defendants’ failure to comply with § 3661. However, § 3661 sets out no requirement

that a user of the mail pursue relief before the Commission prior to filing suit.

Moreover, this Court’s review would forestall irreparable injury to Plaintiffs because the

election in which they plan to vote by mail will occur in 68 days, but the Commission is

under no obligation to resolve complaints until they have been pending for at least 90

days. See 29 U.S.C. § 3662(a)(1). This Court’s review is also warranted and required

because it can offer remedies not available before the Commission and for reasons of

judicial economy.

       170.   Plaintiffs will suffer irreparable injury if the changes described herein take

effect without Defendants’ compliance with § 3661.

       171.   The public interest favors declaring unlawful the changes to postal services

that Defendants have implemented without observing the requirement of § 3661.

       172.   For these reasons, Plaintiffs are entitled to (1) a declaration that

Defendants acted unlawfully by adopting changes in violation of § 3661; (2) an order

directing Defendants to “submit a proposal . . . to the Postal Regulatory Commission

requesting an advisory opinion on the” changes described herein; and (3) an injunction

barring Defendants and their agents from implementing the Late Trip Policies without

first receiving an advisory opinion from the Postal Regulatory Commission.




(“[W]e have observed that the Postal Service is exempt from review under the
Administrative Procedure Act.” (quotation marks omitted)).
                                             59
                                          COUNT II

 (Undue Burden on the Right to Vote in Violation of the U.S. Constitution)

       173.   Plaintiffs re-allege and incorporate by reference each allegation contained

in the preceding paragraphs as though fully set forth herein.

       174.   The United States Constitution guarantees that “all qualified voters have a

constitutionally protected right to vote . . . and to have their votes counted.” Reynolds v.

Sims, 377 U.S. 533, 554 (1964).

       175.   This fundamental right to vote is rooted in “the right of individuals to

associate for the advancement of political beliefs, and the right of qualified voters,

regardless of their political persuasion, to cast their votes effectively.” Williams v.

Rhodes, 393 U.S. 23, 30 (1968). These protections are typically articulated as First and

Fourteenth Amendment rights in suits against state actors. Anderson v. Celebrezze, 460

U.S. 780, 787 (1983); Burdick v. Takushi, 504 U.S. 428, 434 (1992). Here, the First and

Fifth Amendments provide the same guarantees and forbid the federal government from

imposing undue burdens on the right to vote.

       176.   Under the Anderson-Burdick line of cases, the government cannot

unreasonably burden the right to vote—if the character and magnitude of the injury

inflicted upon voting rights outweighs the state interests justifying the challenged

restriction, then the restriction is unconstitutional.

       177.   Defendants’ actions, as described herein, including the Challenged Policies

and other changes to USPS capacity since DeJoy was appointed Postmaster General, will

and have unreasonably and severely burdened Plaintiffs’ right to vote by causing delays

that effectively disenfranchise voters.



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       178.      In evaluating burdens on the right to vote, a “majority of the Crawford

Court determined that ‘[i]t matters . . . whether the effects of a facially neutral and

nondiscriminatory law are unevenly distributed across identifiable groups.’” League of

Women Voters of Fla., Inc., v. Detzner, 314 F. Supp. 3d 1205, 1216 (N.D. Fla. 2018). 126

       179.      The burden imposed by the Challenged Policies is especially severe for

individuals who have no reasonable alternative method to exercise their right to vote,

including (i) voters in states that conduct elections entirely by mail; (ii) voters with

disabilities who cannot physically get to their polling place; and (iii) voters who face

increased risk of serious illness or death from voting during the COVID-19 pandemic,

such as voters with underlying medical conditions, older voters, and voters from racial

and ethnic minority groups.

       180.      Defendants’ actions are not justified by any legitimate governmental

interest. As a result of the actions described herein, Defendants have violated and

continue to violate the U.S. Constitution’s protections against undue burdens on the

right to vote.




126See also Weinberger v. Wiesenfeld, 420 U.S. 636, 638 n.2 (1975) (explaining that
Supreme Court’s “approach to Fifth Amendment equal protection claims has always
been precisely the same as to equal protection claims under the Fourteenth
Amendment”).
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                               PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs request that this Court enter a judgment against

Defendants and award Plaintiffs the following relief:

      A. A declaration that USPS has violated the requirements of 39 U.S.C. § 3661 by

          making a change or changes “in the nature of postal services which will

          generally affect service on a nationwide or substantially nationwide basis,” as

          described herein, without first requesting an advisory opinion of the Postal

          Regulatory Commission, thereby denying “users of the mail” the opportunity

          to participate in a “hearing on the record” before the Postal Regulatory

          Commission about the proposed changes before implementation;

      B. A writ of mandamus to compel USPS to discharge its duty to request an

          advisory opinion of the Postal Regulatory Commission on any and all

          proposed “changes in the nature of postal services which will generally affect

          service on a nationwide or substantially nationwide basis,” as described

          herein, before implementing any such proposed changes;

      C. Preliminary and permanent injunctions barring Defendants and their agents,

          officers, employees, and successors, and all persons acting in concert with

          each or any of them or under their direction from implementing any and all

          “changes in the nature of postal services which will generally affect service on

          a nationwide or substantially nationwide basis” that are planned, were

          adopted, and/or have been implemented without the Postal Service

          discharging its duty to request an advisory opinion of the Postal Regulatory

          Commission regarding any such proposed changes;



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D. Vacatur of any agency action, order, notice, decision, or policy statement

   issued by Defendants or their agents, officers, employees, and successors, or

   any persons acting in concert with each or any of them or acting under their

   direction that implement or purport to implement any and all “changes in the

   nature of postal services which will generally affect service on a nationwide or

   substantially nationwide basis,” as described herein, that are planned, were

   adopted, and/or have been implemented without USPS discharging its duty to

   request an advisory opinion of the Postal Regulatory Commission regarding

   such proposed changes;

E. A declaration that Defendants’ actions, as described herein, violated the First

   Amendment to the United States Constitution.

F. A declaration that Defendants’ actions, as described herein, violated the Fifth

   Amendment to the United States Constitution.

G. Preliminary and permanent injunctions barring Defendants and their agents,

   officers, employees, and successors, and all persons acting in concert with

   each or any of them or under their direction from enforcing any policies that

   unreasonably burden the fundamental right to vote, including the Challenged

   Policies;

H. Appointment of an independent monitor to oversee Defendants’ compliance

   with the terms of the Court’s order;

I. Award Plaintiffs reasonable costs, including reasonable attorneys’ fees; and

J. Any and all additional relief that this Court deems just and proper.




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                        Respectfully submitted,

                         /s Shankar Duraiswamy_____________

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